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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                        NORTHEASTERN DIVISION

NUCLEAR DEVELOPMENT, LLC,   §
                            §
    Plaintiff,              §
                            § CIVIL ACTION CASE NUMBER:
vs.                         §
                            § ____________________________
TENNESSEE VALLEY AUTHORITY, §
                            §
    Defendant.              §


                                   COMPLAINT

      Plaintiff Nuclear Development, LLC (“Nuclear Development”) brings this

Complaint for specific performance of a contract to purchase real estate in Jackson

County, Alabama and for other relief against Tennessee Valley Authority

(“TVA”), as follows:

                                     The Parties

      1.       Nuclear Development is a Delaware limited liability company with its

principal place of business in the State of Maryland.

      2.       TVA is a corporation agency of the United States that provides

electricity for business customers and local power companies in parts of seven

southeastern states, including portions of the territory comprising the United States

District Court for the Northern District of Alabama. In Alabama, TVA operates
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three hydroelectric dams, a nuclear power plant at Browns Ferry, solar and natural

gas-fueled facilities, and other properties.

      3.       TVA is authorized and empowered by Congress to sue and be sued in

its corporate name, to make contracts, to purchase and hold real and personal

property, and to sell and convey surplus property within its custody and control. 16

U.S.C. §§ 831-831ee.

                                Jurisdiction and Venue

      4.       This Court has exclusive federal question jurisdiction over claims and

actions against TVA pursuant to 28 U.S.C. §§ 1331 and 1337. The United States

Court of Federal Claims has no jurisdiction over claims against TVA. 28 U.S.C.

§ 1491(c).     Venue in this Court is appropriate under 28 U.S.C. § 1391(b).

Additionally, in the Contract made the subject of this action and described below,

TVA irrevocably agreed to submit to the sole and exclusive jurisdiction of this

Court regarding any action arising out of, based upon, or relating to the Contract.

Contract, § 17.

                                     The Contract

      5.       TVA has custody and control of the Bellefonte Nuclear Plant Site,

including the infrastructure and other assets located thereon, in Jackson County,

Alabama (the “BLN Property”). The BLN Property is an unfinished nuclear power

plant located in Hollywood, Alabama that is currently being maintained by TVA in



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deferred plant status pursuant to regulations of the Nuclear Regulatory

Commission (“NRC”).

      6.       In 2016, TVA declared the BLN Property to be surplus property and

decided to sell the unfinished plant and property at auction. Nuclear Development

submitted the winning bid and, on November 14, 2016, entered into a purchase and

sales agreement with TVA captioned “Bellefonte Nuclear Plant Site Purchase and

Sales Agreement” (the “Contract”). A copy of the Contract is attached hereto as

Exhibit A.

      7.       The Contract provides that TVA will sell and Nuclear Development

will purchase approximately 1,400 acres of the BLN Property as described in the

Contract (the “Bellefonte Site”). The sale and purchase was originally agreed to

close on November 14, 2018, but the parties amended the Contract to extend the

closing date to November 30, 2018.

      8.       In Section 7(a) of the Contract, TVA represented and warranted the

following, among other things:

               (ii) TVA has the authority to execute this Agreement and to
               transfer the Site to Buyer. This Agreement has been duly and
               validly executed and TVA has the authority to execute and
               deliver to Buyer the deed transferring ownership of the Site to
               Buyer.

               (iii) At its regularly scheduled meeting on May 5, 2016, the
               TVA Board of Directors declared the Site surplus and
               authorized the TVA CEO to sell the Site in whole or in part.



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               No other authorization or approval is needed for the actions
               contemplated by this Agreement.

                                         * * *

               (vii) TVA has full right, power and authority to execute and
               deliver this Agreement and to consummate the purchase and
               sale transaction provided for herein, and no authorization,
               consent or approval or other order or action of or filing with
               any Governmental Authority is required for the execution and
               delivery by the TVA of this Agreement or the consummation
               by the TVA of the transactions contemplated hereby. (emphasis
               added)

      9.       Upon execution of the Contract, Nuclear Development paid TVA

$22,200,000 as a 20% down payment toward the purchase price of $111,000,000,

with the $88,800,000 balance of the purchase price to be paid at closing. Nuclear

Development also paid TVA upon the execution of the Contract an additional

$750,000 to compensate TVA for certain sales and administrative costs.

                         The Parties’ Post-Contract Conduct

      10.      Pursuant to Section 12(e) of the Contract, Nuclear Development has

paid TVA $875,000 every three months from the date of the Contract through

November 30, 2018 (the amended contractual date for closing) – such payments

totaling $7,144,231 – for TVA’s continued maintenance of the Bellefonte Site

assets that support completion and operation of two unfinished nuclear units in a

manner meeting NRC quality control requirements.




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      11.    On August 21, 2018, TVA acknowledged in a letter to Nuclear

Development that Nuclear Development would complete the closing of the

transaction in November and confirmed that TVA would draft the transaction

documents and begin relocating its employees in anticipation of the sale. A copy

of the August 21, 2018 letter is attached hereto as Exhibit B.

      12.    On August 29, 2018, Nuclear Development requested an extension of

the closing date to May 14, 2019, “in order to complete certain activities for an

orderly closing.” TVA did not agree to this request and continued to insist upon

closing the sale and purchase on November 14, 2018, the contracted closing date.

      13.    Notwithstanding the foregoing sequence of events, on November 8,

2018, TVA raised a potential obstacle to closing for the first time – two years after

the Contract date and only six days before the closing date. In order to gain time to

investigate this purported obstacle under the Atomic Energy Act, TVA proposed a

16-day extension of the closing date to November 30, 2018. Nuclear Development

accepted the extension, and the parties entered into the First Amendment to the

Contract, a copy of which is attached hereto as Exhibit C. The First Amendment

to the Contract also confirmed Nuclear Development’s agreement to pay TVA at

the closing the additional sum of $1,193,130 for certain steam generators under

Section 3(f) of the Contract.




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      14.    Although not required to do so prior to the closing, on November 13,

2018, Nuclear Development applied to the NRC for approval of the transfer to

Nuclear Development of two deferred construction permits CPPR-122 and -123

(the “NRC Permits”) previously issued by the NRC to TVA authorizing TVA to

finish constructing the nuclear facility at the Bellefonte Site.

      15.    After the First Amendment to the Contract was signed, TVA opined

that under Section 101 of the Atomic Energy Act, 42 U.S.C. § 2131, the NRC must

approve the transfer of the NRC Permits to Nuclear Development before TVA may

transfer the Bellefonte Site to Nuclear Development. By this point, however,

Nuclear Development had already paid TVA $30,094,231 under the Contract and

expended additional millions of dollars in engineering, consulting, and regulatory

fees, all in reliance upon closing the transaction as contracted.

      16.    TVA’s interpretation of the Atomic Energy Act’s application to the

Contract is erroneous. The transfer of the Bellefonte Site and its improvements in

their current condition to Nuclear Development does not violate the NRC Permits,

the NRC regulations, or the Atomic Energy Act. Moreover, the transfer of the

NRC Permits is not a prerequisite to closing under the Contract.

      17.    In contrast with its last-minute contention, TVA represented and

warranted in 2016 under Section 7(a) of the Contract that it had full authority to

transfer the Bellefonte Site to Nuclear Development and that “no authorization,



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consent or approval or other order or action” of any Governmental Authority was

necessary to consummate the transaction. Contract, § 7(a). TVA also made

representations to the same effect on August 21, 2018, when it advised Nuclear

Development that it was proceeding with documentation for the closing. TVA has

known of the provisions of the Atomic Energy Act for decades, and until six days

before the originally scheduled closing date never once contended that the Act

required the NRC to approve the transfer of the NRC Permits to Nuclear

Development before the closing of the sale of the Bellefonte Site could occur.

                                   The Closing

      18.   On multiple occasions and as recently as the week of closing, Nuclear

Development reiterated its request that TVA agree to delay the closing date to

eliminate the permit transfer issue, but TVA refused.

      19.   Despite its representations in the Contract that it had full authority to

consummate the sale without the need for any governmental approval, on

November 29, 2018, TVA advised Nuclear Development that it did not intend to

close on November 30, 2018 because the NRC had not yet approved Nuclear

Development’s NRC Permit transfer approval applications.           A copy of the

November 29, 2018 letter is attached hereto as Exhibit D.

      20.   As of November 30, 2018, the closing date under the First

Amendment to the Contract, Nuclear Development stood ready, willing, and able



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to tender the full balance of the purchase price in the amount of $91,643,130 to

TVA subject only to TVA’s execution and delivery of the transaction documents.

Nuclear Development fulfilled all terms and conditions of the Contract, but TVA

refused to deliver the transaction documents and make the conveyance as required

by the Contract as amended.

      21.    Upon execution and delivery of the transaction documents by TVA on

the closing date, Nuclear Development stood ready, willing, and able to pay the

full balance of the purchase price and consummate the closing.

      22.    Nuclear Development relied to its material detriment on the

intentional representations and warranties made by TVA in the Contract and in

communications occurring between the Contract date and the closing that it “has

full right, power and authority . . . to consummate the purchase and sale

transactions . . . and no authorization, consent or approval or other order or action

of or filing with any Governmental Authority is required . . . .” Contract, § 7(a).

TVA is equitably estopped from taking a position inconsistent with those

representations and warranties.

                                    Count One
                 Breach of Contract Seeking Specific Performance

      23.    Nuclear Development adopts and incorporates within Count One all

prior allegations of the Complaint.




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      24.    The Contract requiring TVA to sell and Nuclear Development to

purchase the Bellefonte Site is unique and calls for the transfer of specific property

that obviously cannot be found elsewhere. By refusing to transfer the property as

required by the Contract, TVA has breached the Contract, and Nuclear

Development has no adequate remedy at law.

      25.    The Contract is reasonable and valid, and the obligations thereunder

are clear.    Nuclear Development has provided valuable consideration and

performed its obligations, and it is entitled to specific performance of the Contract.

      26.    The Contract itself recognizes that specific performance is appropriate

in the event of TVA’s breach and authorizes specific performance as a remedy.

Contract, § 35. Specifically, the Contract states that each party agrees that

damages “may be difficult or impossible to calculate or otherwise inadequate to

protect its interests and that irreparable damage may occur in the event that

provisions of this Agreement are not performed . . . . Any Party may seek to

require the performance of any other Party’s obligations . . . through an order of

specific performance rendered by the United States District Court for the Northern

District of Alabama.” Contract, § 35 (capitalization omitted).

      WHEREFORE, Nuclear Development prays that the Court exercise its

equitable powers to compel TVA to specifically perform its obligations under the

Contract by accepting Nuclear Development’s payment of the balance of the



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purchase price for the Bellefonte Site and by executing and delivering to Nuclear

Development the “TVA Transaction Documents” described in the Contract. In

conjunction with such order of specific performance, Nuclear Development further

prays the Court to award it all court costs, attorneys’ fees, and prejudgment interest

at the rate of 6% per annum calculated on the full purchase price from the date of

TVA’s breach through the date it specifically performs its obligations as provided

in the Contract.

                                     Count Two
                               Preliminary Injunction

      27.    Nuclear Development adopts and incorporates within Count Two all

prior allegations of the Complaint.

      28.    Nuclear Development has no adequate remedy at law, and it will

suffer imminent and irreparable injury if TVA’s contractual obligations are not

immediately performed. Time is of the essence, as agreed by both parties in

Section 37 of the Contract. Contract, § 37.

      29.    In order to maintain the status quo prior to final judgment, and to

protect Nuclear Development from irreparable injury, Nuclear Development prays

that the Court will enter a preliminary injunction maintaining the status quo and

requiring TVA, among other things, to continue to maintain and provide security

for the BLN Property assets in a manner sufficient to meet NRC quality control

requirements so that the NRC Permits will not lapse or be terminated.

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      30.    TVA will not suffer any prejudice as a result of the preliminary

injunction because it is required under the Contract to provide maintenance and

security of the assets, and Nuclear Development has already paid TVA in full for

those costs by paying $7,144,231 through the closing date as provided by the

Contract. On the other hand, if the preliminary injunction is not granted and TVA

allows or causes the NRC Permits to lapse or be terminated, the resulting prejudice

to Nuclear Development will be catastrophic.           The prejudice to Nuclear

Development if the preliminary injunction is denied clearly outweighs any

prejudice to TVA, to the extent any exists at all, if the preliminary injunction is

granted.

      31.    Nuclear Development will seek the preliminary injunction by motion

under the Federal Rules of Civil Procedure and any applicable local rules.

                                   Count Three
            Alternative Claim for Breach of Contract Seeking Damages

      32.    Nuclear Development adopts and incorporates within Count Three the

allegations of paragraphs 1 - 22, above.

      33.    TVA breached the Contract by refusing to consummate the sale and

purchase transaction as required by the Contract. Because of the unique nature of

the Contract and the assets to be conveyed thereunder, Nuclear Development can

never be fully compensated through recovery of damages for TVA’s breach, but

Nuclear Development nevertheless seeks such damages in the alternative if

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equitable relief is not afforded. Nuclear Development’s damages paid to TVA

exceed $30,000,000, and its total out-of-pocket damages substantially exceed that

number.

      34.    In the event that full and complete equitable relief is not afforded to

Nuclear Development under Counts One and Two above, Nuclear Development

seeks recovery against TVA for all damages arising out of TVA’s breach of the

Contract.

      WHEREFORE, Nuclear Development prays the Court to enter judgment in

favor of Nuclear Development and against TVA for all damages arising out of

TVA’s breach, including without limitation, (i) a full refund of the down payment

sum of $22,200,000, (ii) a full refund of $750,000 in Compensated Costs paid

under Section 5(c) of the Contract, (iii) a full refund of $7,144,231 in maintenance

and security costs paid under Section 12(c) of the Contract, (iv) reimbursement of

millions of dollars in engineering, consulting, and regulatory costs paid by Nuclear

Development in reliance on closing the transaction, (v) court costs and attorneys’

fees, (vi) pre-judgment and post-judgment interest at the rate of 6% per annum, and

(vii) all other damages recoverable at law.




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Respectfully submitted on this 30th day of November, 2018.


                        /s/ Caine O’Rear III
                        CAINE O’REAR III       (OREAC6985)
                        HAND ARENDALL HARRISON SALE LLC
                        P. O. Box 123
                        Mobile, AL 36601
                        (251) 432-5511
                        Fax: (251) 694-6375
                        corear@handarendall.com



                        /s/ E. Shane Black
                        E. SHANE BLACK          (BLACE7644)
                        HAND ARENDALL HARRISON SALE LLC
                        102 S. Jefferson Street
                        Athens, AL 35611
                        (256) 232-0202
                        Fax: (256) 216-1480
                        sblack@handarendall.com



                        /s/ Larry D. Blust
                        Larry D. Blust     (to be admitted pro hac vice)
                        HUGHES SOCOL PIERS RESNICK DYM, LTD.
                        70 W. Madison St., Suite 4000
                        Chicago, IL 60602
                        (312) 604-2672
                        Fax: (312) 604-2673
                        lblust@hsplegal.com

                        ATTORNEYS FOR PLAINTIFF




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DEFENDANT WILL BE SERVED BY CERTIFIED MAIL IN
ACCORDANCE WITH RULE 4 OF THE FEDERAL RULES OF CIVIL
PROCEDURE INCORPORATING RULE 4 OF THE ALABAMA RULES
OF CIVIL PROCEDURE ON THE FOLLOWING:

    Tennessee Valley Authority
    Attn: Aaron B. Nix, Senior Manager, Realty Services and GIS
    1101 Market Street
    Chattanooga, TN 37402

    U.S. Department of Justice
    Attn: Jay E. Town, United States Attorney for the Northern District of
    Alabama
    400 Meridian Street, Suite 304
    Huntsville, Alabama 35801

    U.S. Department of Justice
    Attn: Matthew G. Whitaker
    Acting Attorney General
    950 Pennsylvania Avenue, NW
    Washington, DC 20530-0001




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